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                    EXHIBIT 4
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                         In The Matter Of:
                             LONG vs.
                            FERNANDEZ




                  DETECTIVE JACOB DUNCAN
                       August 22, 2023




                     Challe, Fisher & Morfin
                        1828 South Street
                    Redding, California 96001
                          (530)246-0942
                        cfmdepos@att.net




                            Original File J. Duncan.txt
                    Min-U-Script® with Word Index
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 1                     UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF CALIFORNIA
 3                           SACRAMENTO DIVISION
 4
 5   E.L., a minor, by and through     )
     her general guardian, JESSICA     )
 6   LONG; JESSICA LONG, an            )
     individual,                       )
 7                                     )
               Plaintiffs,             )             Case No.
 8   vs.                               )             2:22-cv-01527-DAD-AC
                                       )
 9   LIEUTENANT JERRY FERNANDEZ        )
     individually and in his           )
10   individual capacity as Sheriff    )
     for the County of Shasta;         )
11   DETECTIVE JACOB DUNCAN,           )
     individually and in his           )
12   individual capacity as Sheriff    )
     for the County of Shasta;         )
13   DETECTIVE JEREMY ASHBEE,          )
     individually and in his           )
14   individual capacity as Sheriff    )
     for the County of Shasta;         )
15   SHASTA DISTRICT FAIR AND EVENT    )
     CENTER, a district agricultural   )
16   association; COUNTY OF SHASTA;    )
     SHASTA COUNTY SHERIFF'S           )
17   DEPARTMENT; MELANIE SILVA, in     )
     her individual capacity; BJ       )
18   MACFARLANE, in his individual     )
     capacity; and DOES 1 through      )
19   10,                               )
                                       )
20             Defendants.             )
     __________________________________)
21
22
              VIDEO DEPOSITION OF DETECTIVE JACOB DUNCAN
23
                          TUESDAY, AUGUST 22, 2023
24
25

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                            DETECTIVE JACOB DUNCAN


 1   Q.        Okay.    Did you -- okay.        Do you think that was
 2   perceived as threatening to his job potentially?
 3   A.        No.    I think my conversation with her the entire
 4   time was amicable, and it came across as a human level
 5   like, hey --
 6   Q.        You were just trying to help her?
 7   A.        Yes.    Honestly, yeah, I was.
 8   Q.        Okay.    I will email you a copy of the audio.
 9   And then however you would like to incorporate or make
10   it an exhibit to the -- I guess we should make it an
11   exhibit.     We did that yesterday, yes?           So the audio
12   would be Exhibit F.
13             MR. GORDON:      Exhibit F.      So okay.      All right.
14   Go off the record for a moment.
15             THE VIDEO SPECIALIST:         We're off the record, and
16   the time is 12:35.
17             (Whereupon, a break was taken from 12:35
18             till 1:00 p.m.)
19             THE VIDEO SPECIALIST:         We're back on the record,
20   and the time is 1300.
21             MR. GORDON:      Q.   Okay.    So we are -- we went
22   through -- we last went through the audio recording of
23   Kristin Stover.
24   A.        Yes.
25   Q.        And your conversation with her.            Okay.    And you

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                            DETECTIVE JACOB DUNCAN


 1   didn't find -- well, okay.          Didn't find Cedar at her --
 2   at Bleating Hearts, correct?
 3   A.        No.
 4   Q.        Okay.    Did -- do -- did you -- apart from -- did
 5   Fernandez tell you what he discussed with -- with Justin
 6   while they were on the backside of the property in the
 7   pens?
 8   A.        No.    To my recollection, he just told me that
 9   the goat was not there.
10   Q.        Okay.    And you couldn't -- he was too far away
11   to be heard at that point in time so you don't -- or is
12   that accurate?
13   A.        Yes.    I believe so.
14   Q.        Okay.    And that's when they were actively
15   looking for Cedar on the property?
16   A.        Yeah.    Justin knew Cedar wasn't there, but
17   Justin was showing Lieutenant Fernandez the property,
18   yes.
19   Q.        Okay.    Okay.    And then you -- then you -- what
20   happened next?       What did you do while you were with
21   Kristin?
22   A.        So Kristin and I were, as you previously played,
23   just conversing.
24   Q.        Yeah.
25   A.        And I was asking her about Cedar.              And while she

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                            DETECTIVE JACOB DUNCAN


 1   was looking for I believe Jessica's phone number, she
 2   was standing close to me and I could see her scrolling
 3   through some emails and I pointed that fact out to her
 4   and she said, yeah, I got some emails here or something
 5   along those lines, it's in the recording, but she said
 6   something similar and I asked her if I could see them
 7   and she said some form of "yeah" and handed me the phone
 8   to view those.
 9   Q.        So that was her mistake, right?            You would not
10   have --
11   A.        I think she was -- I think she was a
12   good-natured person.        I think my opinion is that she was
13   nervous just talking to law enforcement, but she had
14   intentions to be cooperative.           So she obviously lied
15   throughout our contact.
16   Q.        Yeah.
17   A.        But I -- you know.        So.
18   Q.        Okay.    Why do you think she didn't say where
19   Cedar was?
20             MR. NORTHCUTT:       Objection.      Calls for
21   speculation.      Go ahead.
22             THE WITNESS:      Based on the context of what we
23   were saying, I think that she was trying to limit her
24   involvement while also she has a goat sanctuary, so I
25   imagine she probably obviously cared about Cedar as well

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                            DETECTIVE JACOB DUNCAN


 1   and didn't want us to obtain Cedar.
 2             MR. GORDON:      Q.   Yeah.    Okay.     Okay.    So about
 3   how long -- the recording is 23 minutes.                 Is that about
 4   how long -- or 23 minutes and change.              Is that about how
 5   long you were at Kristin's and Justin's property?
 6   A.        Yes.    I believe so.
 7   Q.        Okay.    All right.      And -- okay.      What did you do
 8   when you left their property?
 9   A.        Well, in my conversation with Kristin and review
10   of her emails, I discovered that Cedar was at Billy's
11   Mini Goat Farm in Sonoma.
12   Q.        Okay.    So you concluded that in your
13   investigation.       What did you -- so about what time --
14   about what time did you leave the Bleating Hearts?
15   A.        I think we left directly following when that
16   interview ended.       We went directly to Billy's Mini Goat
17   Farm in Sonoma.
18   Q.        Do you remember approximately what time that
19   was?
20   A.        Well, we got there at 7:30, and the recording is
21   23 minutes.      I would say probably around eight o'clock
22   that night.
23   Q.        So at Bleating Hearts -- or Ray's Farm where
24   you -- where you concluded Cedar was, that was not in
25   Napa County, right?

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 1                           PENALTY OF PERJURY
 2         Please be advised I have read the foregoing
 3         deposition, and I hereby state there are:
 4
 5         (Check one)         ______ no corrections
 6                             ______ corrections attached
 7
 8         Executed on ______________________________
 9                                 Date
10
11                         _______________________________
                            DETECTIVE JACOB DUNCAN
12
13
14                                 ---oOo---
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 1                         REPORTER'S CERTIFICATE
 2
 3                I hereby certify that the witness in the
 4   foregoing deposition was duly sworn by me to tell the
 5   truth, the whole truth, and nothing but the truth in the
 6   within-entitled cause; that said deposition was taken at
 7   the time and place herein named; and that the testimony
 8   of said witness was reported by me, a duly certified
 9   shorthand reporter and disinterested person, and was
10   thereafter transcribed under my direction by
11   computer-assisted transcription.
12                I further certify that I am not of counsel or
13   attorney for either or any of the parties to said
14   deposition, nor in any way interested in the outcome of
15   the case named in said caption.
16                IN WITNESS WHEREOF, I have hereunto set my
17   hand.
18
19                DATED:     SEPTEMBER 2, 2023
20
21
22                _________________________________________
23                      SUZANNA MICKELSON, CSR No. 14270
24                             State of California
25

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